Case 2:19-cv-02185-PSG-AS Document 1-4 Filed 03/22/19 Page 1 of 5 Page ID #:177




                         Exhibit 4
Case 2:18-cv-08209-PA-MRW Document1-4
     2:19-cv-02185-PSG-AS Document 13 Filed 03/22/19
                                            10/09/18 Page 2
                                                          1 of 5
                                                               4 Page ID #:178
                                                                         #:268




    1
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    6
        Attorney for Plaintiffs

    7

    8                         UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
   10               WESTERN DIVISION, FIRST STREET COURTHOUSE
   11

   12   DANIEL W. ROBINSON; DARLA J. ) CASE # 2:18-cv-08209-PA-MRW
        ROBINSON; AND MIGUEL A.             )
   13
        CABRERA,                            )
   14                                       )
                         Plaintiffs;        ) PLAINTIFFS NOTICE OF
   15
                                            ) DISMISSAL UNDER FED.R.CIV.P.
   16   vs                                  ) 41(a)(1)
   17                                       )
                                            )
   18
        MORTGAGE ELECTRONIC                 )
   19   REGISTRATION SYSTEMS, INC.; )
        AND; DOES 1-25, inclusive,          )
   20
                                            )
   21                                       ) Date: November 5, 2018
   22
                                 Defendant. ) Time: 1:30 p.m.
                                            ) Ctrm: 9A, 9th Floor
   23                                       )
   24                                       ) Honorable Judge Percy Anderson
                                            ) Magistrate Judge Michael R. Wilner
   25
                                            )
   26                                       )
   27
                                            )
                                            )
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          PLAINTIFFS NOTICE OF MOTION AND MOTION TO DISMISS WITHOUT PREJUDICE PURSUANT TO
                                          FED.R.CIV.P. 41(a)(1)


                                                                Exhibit 4 - Page 161
Case 2:18-cv-08209-PA-MRW Document1-4
     2:19-cv-02185-PSG-AS Document 13 Filed 03/22/19
                                            10/09/18 Page 3
                                                          2 of 5
                                                               4 Page ID #:179
                                                                         #:269




    1         TO THE ABOVE-ENTITLED COURT AND ALL INTERESTED
    2   PARTIES HEREIN, PLEASE TAKE NOTICE THAT on November 1, 2018 at
    3   1:30 p.m., or as soon thereafter as the matter may be heard, in Courtroom 9A of the
    4   above-entitled Court, located at 350 W. 1st St., Los Angeles, CA 90012, Plaintiffs
    5   Daniel W. Robinson; Darla J. Robinson; and Miguel A. Cabrera ("Plaintiffs”) , will
    6   and hereby do move to dismiss the case without prejudice.
    7         This motion is based upon the grounds that:
    8         1.     Under Fed.R.Civ.P. 41(a)(1), Plaintiffs may give appropriate notice of
    9   a desire to dismiss their case without prejudice.
   10         This Notice is made pursuant to Fed.R.Civ.P. 41(a)(1). This notice is based
   11   upon this notice, the accompanying memorandum of points and authorities, all
   12   pleadings and papers on file in the above-captioned action, and other evidence that
   13   may be presented by Plaintiffs at the hearing on this motion.
   14

   15   Dated this 9TH day of October, 2018
   16
                                                      __________________________
                                                      ____________________________
   17                                                 All West,
                                                      A         Esq.
                                                          West Esq
   18
                                                      Attorney for Plaintiffs

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          PLAINTIFFS NOTICE OF MOTION AND MOTION TO DISMISS WITHOUT PREJUDICE PURSUANT TO
                                          FED.R.CIV.P. 41(a)(1)


                                                                 Exhibit 4 - Page 162
Case 2:18-cv-08209-PA-MRW Document1-4
     2:19-cv-02185-PSG-AS Document 13 Filed 03/22/19
                                            10/09/18 Page 4
                                                          3 of 5
                                                               4 Page ID #:180
                                                                         #:270




    1                     NOTICE TO DISMISS WITHOUT PREJUDICE
    2         Under Rule 41(a)(1), a plaintiff has an absolute right voluntarily to dismiss
    3   his action prior to service by the defendant of an answer or a motion for summary
    4   judgment. See Hamilton v. Shearson–Lehman American Express, Inc., 813 F.2d
    5   1532, 1534 (9th Cir.1987). Even if the defendant has filed a motion to dismiss, the
    6   plaintiff may terminate his action voluntarily by filing a notice of dismissal under
    7   Rule 41(a)(1). Miller v. Reddin, 422 F.2d 1264, 1265 (9th Cir.1970). The dismissal
    8   is effective on filing and no court order is required. Id. The plaintiff may dismiss
    9   either some or all of the defendants—or some or all of his claims—through a Rule
   10   41(a)(1) notice. Pedrina v. Chun, 987 F.2d 608, 609 (9th Cir.1993). Filing a notice
   11   of voluntary dismissal with the court automatically terminates the action as to the
   12   defendants who are the subjects of the notice. Unless otherwise stated, the
   13   dismissal is ordinarily without prejudice to the plaintiff's right to commence
   14   another action for the same cause against the same defendants. McKenzie v.
   15   Davenport–Harris Funeral Home, 834 F.2d 930, 934–35 (9th Cir.1987); see 5
   16   Moore's Federal Practice ¶ 41.02[2]. Such a dismissal leaves the parties as though
   17   no action had been brought. Brown v. Hartshorne Public School Dist. No. 1, 926
   18   F.2d 959, 961 (10th Cir.1991).
   19

   20                                            III.
   21                                      CONCLUSION
   22
              Based upon the foregoing, this court should properly dismiss this case
   23
        without prejudice upon this timely notice.
   24

   25
              Dated October 9, 2018                     ________________________
                                                        ______________________
                                                             Al
                                                             Al WWest   Esq
                                                                   es t Esq
   26                                                       Attorney for Plaintiffs
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          PLAINTIFFS NOTICE OF MOTION AND MOTION TO DISMISS WITHOUT PREJUDICE PURSUANT TO
                                          FED.R.CIV.P. 41(a)(1)


                                                                   Exhibit 4 - Page 163
Case 2:18-cv-08209-PA-MRW Document1-4
     2:19-cv-02185-PSG-AS Document 13 Filed 03/22/19
                                            10/09/18 Page 5
                                                          4 of 5
                                                               4 Page ID #:181
                                                                         #:271




                                                          Exhibit 4 - Page 164
